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 5                                UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
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 8                                             )
     UNITED STATES OF AMERICA,                 )
 9                                             )                 Case Nos.: 2:12-cr-00084-APG-GWF
                       Plaintiff,              )                            2:12-cr-00004-APG-GWF
10                                             )
     vs.                                       )                 ORDER
11                                             )
     THOMAS LAMB,                              )
12                                             )
                       Defendant.              )
13   __________________________________________)
14          Defendant Thomas Lamb having been sentenced on October 29, 2015, IT IS HEREBY
15   ORDERED that attorney Karen Winkler, Esq. is relieved of her responsibilities to serve as lead
16   defense attorney for purposes of coordinating discovery in the above-entitled cases.
17          DATED this 29th day of December, 2015.
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19                                                ______________________________________
                                                  GEORGE FOLEY, JR.
20                                                United States Magistrate Judge
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